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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

 v.                                                     Crim. No. 18-CR-30001-WGY

 DAPHNE MOORE

 Defendant


        MOTION FOR RECONSIDERATION OF MEMORANDUM AND ORDER AND
        TO CONTINUE TRIAL DATE TO ALLOW FOR RECONSIDERATION

       The United States of America hereby respectfully submits this motion for reconsideration

of the Amended Memorandum and Order issued on June 3, 2019 (Docket Entry No. (“DE”)

422), allowing the Motions to Suppress Pole Camera Surveillance Video filed by Defendants

Daphne Moore (DE 326) and Nia Moore Bush (DE 358).            The Government previously filed an

Opposition to Defendants’ Motions to Suppress Pole Camera Evidence (DE 367), and the matter

was argued by both parties on May 13, 2019. See Transcript of May 13, 2019 Motion to

Suppress and Final Pretrial Hearing attached as Exhibit A.

       The United States also requests that the Court continue the trial date from June 10, 2019

to June 17, 2019 to allow for time to consider the request, and provide clarity to the witnesses,

jury pool, court staff, and other personnel regarding the trial date.   There are a number of

civilian witnesses in the trial that do not live in Massachusetts, and the Government has arranged

for travel and other logistics based on a June 10, 2019 trial date. In order to allow the Court to

consider the motion for reconsideration, including the review of the proposed trial exhibits that




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the Government is attaching to this motion, the Government requests a continuance of the trial

date for one week, to facilitate the logistical planning and conservation of resources.

        I.      There Was No Unique or New Technology Used in the Investigation that
                Implicates the Concerns of Carpenter or Impacts the Analysis of the
                Defendants’ Objective Expectation of Privacy

        The Court found that the pole camera used in the case was “unique in this Court’s

experience” and suggested that the ability for law enforcement to, while monitoring the camera,

pan, tilt, or zoom the camera seemed to be a “new development.” DE 422 at 23-24.                 The

Court supported this analysis by comparing the Government’s argument that the Defendants had

not “pointed to any video or still images taken with the pole camera that impeded into a private

space or indicated the use of a sophisticated new technology that raises new questions regarding

what is objectively reasonable” with Defendant Moore’s claims about “recommended must-have

features” of pole cameras.     Id., comparing DE 367 3, n.1 with DE 326 at 6.          Defendant

Moore’s argument about “recommended” features was supported with a citation to the website

“PoliceOne.com” and an article “Sponsored by” a technology company that markets pole

cameras to police departments.1 This is an advertisement.           There is no evidence in the record

that a product advertised by this company was used in the case, or that any of the features

discussed in the press release cited to by the Defendant are new.         As the Government noted, the

Defendants failed to offer any factual examples of how any of the actual images captured by the

camera were at all unusual, different, or more invasive than the images that have been captured

by pole cameras for many years in a variety of investigations.         To the contrary, the actual



1
  See: https://www.policeone.com/police-products/technology/pole-cameras/press-releases/481702011-8-must-
have-features-of-law-enforcement-pole-cameras/ (Last visited June 4, 2019.)

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images and videos that the Government intends to introduce at trial are the exact type of images

and video that have long been used in investigations and trials in this District.   See Exhibits B-P

(marked for trial as Exhibits 195-209, which have been listed on the Government’s Exhibit List

filed under seal with the Court and provided to Defendant Moore).

       Indeed the pole camera at issue in this case appears to be no different from or even less

technologically advanced than the pole cameras that the Court distinguished in its Order. See

DE 422 14, 23 (citing United States v. Kay, No. 17-CR-16, 2018 WL 3995902 (E.D. Wis. Aug.

21, 2018), United States v. Tirado, No. 16-CR-168, 2018 WL 3995902 (E.D. Wis. Aug. 21,

2018), and United States v. Tuggle, No. 16-CR-20070-JES-JEH, 2018 WL 3631881 (C.D. Cal.

July 31, 2018)).   The record in each of these cases suggests if not explicitly states that the pole

cameras upheld in those cases could remotely zoom and tilt. Agents in the Tuggle case, “could

remotely operate the cameras to zoom, pan, and tilt” the pole camera, view it in real time, and the

“data was stored on a server at the FBI[.]” Tuggle, 2018 WL 3631881, at *1.         Like the Tuggle

pole camera, the ATF pole camera at issue in the instant case was operable remotely and stored

the data commensurate with standard pole camera technology. See DE 367 at 3.           Moreover,

the pole cameras upheld in Tuggle had more sophisticated technology than the one at issue in the

instant case because they “were equipped with rudimentary lighting technology to minimally

assist the cameras’ operation at night.” Id.    Nonetheless, the district court upheld the pole

cameras post-Carpenter.     Similarly, in the Report and Recommendation adopted in Kay, the

Magistrate Judge states that the agents “could view the surveillance footage in real time” and

“also zoom and pan the camera, but they rarely did so.” United States v. Kay, No. 17-CR-16,

Report & Recommendation, 2018 WL 4375183, at *1 (E.D. Wis. Apr. 23, 2018), adopted 2018


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WL 3995902 (E.D. Wis. Aug. 21, 2018).        This implies that the capacity to zoom and pan and

view in real time was remote, as in the instant case.   The pole cameras at issue in the Tirado

case also were located on utility poles and could “zoom in and out and focus on a particular

object.” United States v. Tirado, No. 16-CR-168, 2018 WL 3245204 (E.D. Wis. Jan. 26, 2018),

aff’d 2018 WL 3995902 (E.D. Wis. Aug. 21, 2018).        Nothing in the record in the Tirado or Kay

cases suggests or states that the agents had to go to the scene (atop the utility pole) to manually

zoom, and the record instead suggests that the ability to zoom was remote.


        The Defendants appear to have strategically chosen not to introduce any images to

support their argument that they had an objectively reasonable expectation of privacy in the

driveway and the corner of their home, instead electing to raise the specter of new technology in

an attempt to bootstrap their suppression arguments onto the privacy concerns that the Supreme

Court discussed in Carpenter v. United States, 138 S. Ct. 2206 (2018). The Court notes several

times in the Memorandum and Opinion that the images were captured in a “digitally searchable

log.”   DE 422 at 21, 23, 25.   This is simply a recording.    The evidence in the record was not

disputed:   the video captured can be moved forward or backward in time, and the viewer can

move to a particular date or time.    There was no evidence in the record to support an inference

that it is a new development that pole camera evidence is being captured by a recording—to the

contrary, the fact that pole camera surveillance video and images have long been used at trial

evidence that they are recorded.     And there was no evidence in the record of any additional

search functionality, or any basis for a conclusion that are new features. To the contrary, even a

VHS tape recording can move forward and backward in time to a specific date/time stamp.

Further, there was no basis in the record for the conclusion that there was any type of “log”

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created by the camera.   Instead, what the Defendants received in discovery were the notes law

enforcement agents made while monitoring the camera live and remotely.        Again, it appears to

have been a strategic decision by the defense not to introduce such evidence into the record, as it

would have demonstrated that this is not new technology, but rather a long-standing law

enforcement technique.

       The pole camera used in the investigation allowed law enforcement agents to pan, tilt, or

zoom the camera when they were monitoring the output, in order to focus on areas of interest.

This was discussed at the hearing and was not disputed. The Government analogized this

feature to a law enforcement agent using binoculars to improve his view during live surveillance.

DE 367 at 3.   And the Court noted the similarity in this view to a traditional stakeout. If the

Government had rented the home across the street from the Defendants’ and rotated agents

through to conduct live surveillance, they could have employed the same techniques when there

was activity of investigative significance. They could have also turned on a video camera.

Capturing and focusing on activities that law enforcement has a contemporaneous interest in is,

again, a core and traditional law enforcement surveillance technique.    There was thus no factual

basis for the Court’s finding that “the Pole Camera, as used here, does not constitute a

“conventional security technique[.]”    DE 422 at 24.

       There was no basis in the record to find that any images captured by the pole camera

violated the Defendant’s objectively reasonable expectation of privacy in the view of their

driveway and a portion of their home.    There was also no basis in the record to find that the

type of pole camera used, or the way in which it was used, was new, unique, or beyond the

conventional surveillance techniques used by law enforcement. There is thus no basis to find


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that the Supreme Court’s decision in Carpenter controlled. The Government respectfully

requests that the Court reconsider the basis for the ruling on these grounds.

       II.     There was No Factual Basis for the Inference of a Subjective Expectation of
               Privacy in the Exterior of the Home and Driveway

       The Court also determined that the Defendants had a subjective expectation of privacy in

the view from the pole camera across the street from their home, based on an inference drawn

from the Defendant’s “choice of neighborhood and home within it.”       DE at 9.   There were no

facts in the record regarding the circumstances (when, how, why) the Defendants came to live in

the home.    Nor were there facts regarding the surrounding neighborhood and the homes. The

undisputed facts were simply that: (1) the Defendants lived in the City of Springfield; (2) they

lived in a “quiet, residential neighborhood;” and (3) there was a tree between the pole camera

and the front of the home.   The Defendants again did not seek to introduce any evidence

showing the actual view of the exterior of the home, which may have been because doing so

would have undermined their argument that the lone tree supported an inference of a subjective

expectation of privacy. In fact, the evidence that the Government intends to introduce at trial

was from November 2017 through January 2018.         See Exhibits B-P. At that time, there was

no obstruction—the leaves had fallen and the view was clear.     Moreover, it is clear from images

taken during the warmer months that the leaves blocked the view of the pole camera, but did not

obstruct the view of the driveway and the home from other areas, including the public street.

See Exhibit (Q).   Not only were these images available to the Defendant, but the record was

also clear that there was no evidence that the tree was on the Defendants’ property. Thus, the

Court lacked a basis to infer a subjective expectation of privacy in the view of the driveway and

home captured by the pole camera.

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         III.   The Evidence Should Not Be Suppressed Because the Government Relied in
                Good Faith on First Circuit Precedent

         In Davis v. United States, the Supreme Court held that “[e]vidence obtained during a

search conducted in reasonable reliance on binding precedent is not subject to the exclusionary

rule.” 564 U.S. 229, 241 (2011). The Court found that this conclusion flowed from the

reasoning of prior good-faith decisions that “the deterrence benefits of exclusion vary with the

culpability of the law enforcement conduct at issue,” and that exclusion is not warranted where

“police act with an objectively reasonable good-faith belief that their conduct is lawful, or when

their conduct involves only simple, isolated negligence.”    Id. at 238 (internal punctuation marks

and citations omitted). In United States v. Sparks, the First Circuit held that the precedent in

question must be “clear and well-settled,” but that the facts of the case need not be identical to

those addressed in the prior precedent, finding that the placement and monitoring of a GPS

device on a car could be upheld under a good-faith analysis based on earlier cases involving the

installation and monitoring of a beeper, notwithstanding the greater capabilities of the GPS

device. 711 F.3d 58, 66 (1st Cir. 2013).

         The Davis good faith exception applies here and precludes suppression of the

government’s pole camera evidence. In United States v. Bucci, the First Circuit expressly

addressed and rejected a claim that law enforcement officers violated the Fourth Amendment

when they “installed a video camera on a utility pole across the street from Bucci’s home and

conducted surveillance of the front of his house for eight months.”    582 F.3d 108, 116 (1st Cir.

2009).    The Court found that Bucci had failed to establish either a subjective or objectively

reasonable expectation of privacy, finding it “clear” that Bucci did not have an expectation of



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privacy in the front of his house or the open garage as visible from the street because these areas

were exposed to public view. Id.



       In its memorandum and order, this Court properly rejected the defendants’ argument that

Bucci was factually distinguishable because the pole camera in that case may have lacked certain

capabilities present in the camera here (such as the ability to change its view or magnification

remotely). DE 422; Bucci, 582 F.3d at 116. Whatever the differences between the pole

cameras, they are smaller than those between a tracking beeper and a GPS device the First

Circuit found constitutionally insignificant in Sparks. See 711 F.3d at 66.    Because the actions

taken by law enforcement in this case were plainly within the scope of existing precedent,

exclusion of the evidence was plainly improper under Davis even if the court were correct

(which the government disputes) that the reasoning of Bucci has been undermined by subsequent

Supreme Court precedent.



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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and by hand at the Clerk’s Office.


                                              /s/ Amy Harman Burkart
                                              Amy Harman Burkart
                                              Assistant United States Attorney

Date: June 4, 2019




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